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                                                                          6                     IN THE UNITED STATES DISTRICT COURT
                                                                          7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                                                               )      Case No. C 07-5944 SC
                                                                          9                                    )
                                                                              IN RE: CATHODE RAY TUBE (CRT)    )      ORDER GRANTING TOSHIBA
                                                                         10   ANTITRUST LITIGATION             )      DEFENDANTS' MOTION FOR LEAVE TO
                               For the Northern District of California
United States District Court




                                                                                                               )      AMEND MOTION TO DISMISS
                                                                         11   This Document Relates to         )
                                                                              Case No. 13-cv-1173-SC           )
                                                                         12                                    )
                                                                              SHARP ELECTRONICS CORP.; SHARP )
                                                                         13   ELECTRONICS MANUFACTURING CO. OF )
                                                                              AMERICA, INC.,                   )
                                                                         14                                    )
                                                                                                 Plaintiffs, )
                                                                         15                                    )
                                                                                  v.                           )
                                                                         16                                    )
                                                                              HITACHI, LTD., et al.,           )
                                                                         17                                    )
                                                                                                 Defendants. )
                                                                         18                                    )
                                                                         19
                                                                         20        The Toshiba Defendants' motion for leave to amend their motion
                                                                         21   to dismiss the Sharp Plaintiffs' complaint, ECF No. 2249, is
                                                                         22   GRANTED.   The Court agrees that the amendment is minor.           The Sharp
                                                                         23   Plaintiffs have seven (7) days from the signature date of this
                                                                         24   Order to respond to the amendment, if they feel it necessary.
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                                                                         26        Dated: December 17, 2013
                                                                         27                                            UNITED STATES DISTRICT JUDGE
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